Case 18-50214-rlj11 Doc 959 Filed 02/08/19                Entered 02/08/19 12:30:00            Page 1 of 3




MCGLINCHEY STAFFORD, PLLC
Stephen P. Strohschein, LA Bar Roll #12541
301 Main Street, 14th Floor
Baton Rouge, Louisiana 70801
Telephone: (225) 383-9000
Facsimile: (225) 343-3076
sstroh@mcglinchey.com

and

R. Dwayne Danner
6688 N. Central Expressway
Suite 400
Dallas, Texas 75206
Telephone: (214) 445-2445
Facsimile: (214) 445-2450
Email: ddanner@mcglinchey.com

COUNSEL FOR AMERICREDIT FINANCIAL
SERVICES, INC., DOING BUSINESS AS
GM FINANCIAL



                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

IN RE:                                *
                                       *
                             1
REAGOR-DYKES MOTORS, LP                *       CASE NO. 18-50214-rlj-11
                                       *       (Jointly Administered)
      Debtor                          *
******************************************************************************
       AMERICREDIT FINANCIAL SERVICES, INC. D/B/A/ GM FINANCIAL’S
      MOTION TO EXPEDITE HEARING ON ITS MOTION FOR RELIEF FROM
              AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(d)


                            THIS DOCUMENT PERTAINS TO
                      REAGOR-DYKES SNYDER, LP (CASE NO. 18-50321)



1
  The Debtors are Reagor-Dykes Motors, LP (Case No. 18-50214), Reagor-Dykes Imports, LP (Case No. 18-50215),
Reagor-Dykes Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-
Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes Snyder,
L.P. (Case No. 18-50321), Reagor-Dykes III, LLC (Case No. 18-50322), Reagor-Dykes II, LLC (Case No. 18-50323),
Reagor-Dykes Auto Mall, Ltd. (Case No. 18-50324), and Reagor-Dykes Auto Mall I, LLC (Case No. 18-50325).

________________________________________________________________________________________________________
     AMERICREDIT FINANCIAL SERVICES, INC., DOING BUSINESS AS GM FINANCIAL’S MOTION TO EXPEDITE HEARING ON ITS
                     MOTION FOR RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(D)
                                                       PAGE 1
Case 18-50214-rlj11 Doc 959 Filed 02/08/19                Entered 02/08/19 12:30:00           Page 2 of 3




        NOW INTO COURT, through undersigned counsel, comes AmeriCredit Financial

Services, Inc. d/b/a GM Financial (“GM Financial”), which respectfully moves this Court to

expedite the hearing on its Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C.

§362(d) (the “Motion”), so that its motion can be heard on February 20, 2019, at 1:30 P.M. The

Motion is brought pursuant to Bankruptcy Rule 9006( c) and Local Bankruptcy Rule 9.003.1.


                               BASIS FOR EXPEDITED HEARING

        1.      GM Financial requests that this hearing be set for February 20, 2019, at 1:30 P.M.

so that the merits of the Motion can be determined in connection with Reagor-Dykes Snyder, L.P.’s

previously filed motion to use cash collateral [Dkt. 660], which is scheduled for hearing again on

that date and time, and because GM Financial continues to incur extraordinary expense in

protecting its collateral with little prospects being shown for a reorganization of either Reagor-

Dykes Snyder, L.P. or the Reagor-Dykes Group, generally.

        2.      Counsel for GM Financial has discussed this request for expedited hearing with

counsel for the Debtors, who do not consent to this request but have requested this Court compel

all parties to mediate all issues to achieve a “global resolution” [Doc. 943] (the “Mediation

Motion”).

        3.      GM Financial, which is not listed as an “Interested Party” on Exhibit “A” to the

Mediation Motion, sees little opportunity for such a gathering to make any meaningful progress

and requests that its lift stay be heard.

        4.      Additionally, and more practically, counsel for GM Financial has suggested to

counsel for the Debtors that as long as the request for use of GM Financial’s cash collateral is to



________________________________________________________________________________________________________
     AMERICREDIT FINANCIAL SERVICES, INC., DOING BUSINESS AS GM FINANCIAL’S MOTION TO EXPEDITE HEARING ON ITS
                     MOTION FOR RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(D)
                                                       PAGE 2
Case 18-50214-rlj11 Doc 959 Filed 02/08/19                Entered 02/08/19 12:30:00           Page 3 of 3




be heard on February 20th, without any agreement for such continued use, that GM Financial’s lift

stay motion should be heard at the same time.

        5.      GM Financial is filing the Declaration of its representative, Howard S. Ravitz, and

attached exhibits with its Motion as required by Local Bankruptcy Rule 4001-1(e)(3).

        WHEREFORE, AmeriCredit Financial Services, Inc. d/b/a GM Financial requests

that the Court enter an order expediting the hearing on its Motion for Relief from the Automatic

Stay Pursuant to 11 U.S.C. §362(d) to coincide with Reagor-Dykes Snyder’s cash collateral motion

on February 20, 2019; at 1:30 P.M., and for such other and further relief as it may show itself

entitled.

                                                  Respectfully submitted:


                                                    /s/ Stephen P. Strohschein
                                                  Stephen P. Strohschein, LA Bar Roll #12541
                                                  McGlinchey Stafford, PLLC
                                                  301 Main Street, 14th Floor
                                                  Baton Rouge, Louisiana 70801
                                                  Telephone: (225) 383-9000
                                                  Facsimile: (225) 343-3076
                                                  Email: sstroh@mcglinchey.com

                                                  and

                                                  R. Dwayne Danner
                                                  State Bar No. 00792443
                                                  McGlinchey Stafford, PLLC
                                                  Three Energy Square
                                                  6688 North Central Expressway, Ste. 400
                                                  Dallas, Texas 75206
                                                  Telephone: (214) 445-2445
                                                  Facsimile: (214) 445-2450
                                                  Email: ddanner@mcglinchey.com
                                                  ATTORNEYS FOR AMERICREDIT FINANCIAL SERVICES,
                                                  INC. D/B/A GM FINANCIAL



________________________________________________________________________________________________________
     AMERICREDIT FINANCIAL SERVICES, INC., DOING BUSINESS AS GM FINANCIAL’S MOTION TO EXPEDITE HEARING ON ITS
                     MOTION FOR RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(D)
                                                       PAGE 3
